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                        UNITED STATES BANKRUPTCY COURT
                    FOR THE EASTERN DISTRICT OF PENNSYLVANIA

IN RE:                                              Chapter 7

        Laura Waldman
                                                    Bankruptcy No.:       12-15822-jkf
                Debtor(s)


                                      11      ORDER
                                              Ol

        AND NOW. this (^Ci            day of           XXAJL^                   , 2012. upon

consideration of the Debtor's Applic^on for Extensldn of Time to file the Statement of Current

Monthly Income, Schedules A-J, Summary of Schedules and Statistical Summary of Certain

Liabilities, it is hereby

         ORDERED that said Application is GRANTED and that the Debtor's right to file

missing documents is extended an additional 20 days.

                                               BY THE COURT:




Office of ihe United States Trustee                        Christine S/Stiubert, Trustee
833 Chestnut Street                                        10 Teaberry Drive
Suite 500                                                  Medford, New Jersey 08055
Philadelphia, Pennsylvania 19107


Steven P. Kelly, Esquire                                   Laura Waldman
The Anastasio Law Firm, LLC                                826 Hin?ir" Road
1221 Locust Street. Suite 201                              Lancaster, Pennsvlvania 17601
Philadelphia, Pennsylvania 19107
